      Case 1:24-cv-00387-PAE                 Document 55    Filed 03/04/25       Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------X
              CANDICE GRONBERG,

                                       Plaintiff(s),                      24 Civ. 387 (PAE)

                     v-                                                  AMENDED CIVIL
              SENSIO COMPANY INC. ET AL.,                              CASE MANAGEMENT
                                                                           PLAN AND
                                        Defendant(s).                  SCHEDULING ORDER

-----------------------------------------------:X

       This Civil Case Management Plan (the "Plan") is submitted jointly by the parties in
accordance with Fed. R. Civ. P. 26(f)(3).

1.    All parties do not consent to conducting all fmther proceedings before a Magistrate
      Judge, including motions and trial. 28 U.S.C. § 636(c). The patties are free to withhold
      consent without adverse substantive consequences.

2.     This case is to be tried to a jury.

3.    Amended pleadings may not be filed and additional parties may not be joined except with
      leave of the Court. Any motion to amend or to join additional parties shall be filed within
      30 days from the date of this Order.

4.    Initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(l), shall be completed no later than
      14 days from the date of this Order.

5.    All fact discovery shall be completed no later than September 1, 2025, unless the Court
      finds that the case presents unique complexities or other exceptional circumstances.

6.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
      Procedure and the Local Rules of the Southern District of New York. The following
      interim deadlines may be extended by the written consent of all parties without application
      to the Court, provided that all fact discovery is completed by the date set forth in paragraph
      5 above.

      a.       Initial requests for production of documents to be served by September 1, 2024.


      b.       Interrogatories to be served by September 2, 2024.
      Case 1:24-cv-00387-PAE             Document 55           Filed 03/04/25        Page 2 of 4




      c.     Depositions to be completed by September 2, 2025.

      d.    Requests to Admit to be served no later tban September 1, 2024.

7.    a.    All expert discovery shall be completed no later than October 15, 2025.

      b.     No later than thirty (30) days prior to the date in paragraph 5, i.e., the completion
             of all fact discovery, the parties shall meet and confer on a schedule for expert
             disclosures, including reports, production of underlying documents and
             depositions, provided that (i) expert report(s) of the party with the burden of proof
             shall be due before those of the opposing party's expert(s); and (ii) all expert
             discovery shall be completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court's Individual Rules and
      Practices, including the requirement of a pre-motion conference before a motion for
      summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
      motion for summary judgment will be deemed untimely unless a request for a pre-motion
      conference relating thereto is made in writing within fourteen (14) days of the date in
      paragraph 5, i.e., the close of fact discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within
      fourteen (14) days following the close of fact discovery.

10.   a.     Counsel for the parties have discussed an informal exchange of information in aid
             of early settlement of this case and have agreed upon the following: Plaintiffs
             counsel provided a demand and settlement discussions are ongoing. It is
             anticipated that discussions will continue once Defendant Meiman appears.

      b.     Counsel for the parties have discussed the use of the following alternate dispute
             resolution mechanisms for use in this case: (i) a settlement conference before a
             Magistrate Judge; (ii) participation in the District's Mediation Program; and/or (iii)
             retention of a privately-retained mediator. Counsel for the parties propose the following
             alternate dispute resolution mechanism for this case: At the appropriate time the parties
             will discuss the Magistrate Judge or private mediator, as the case is in its infancy and all
             defendants have not appeared.

      c.     Counsel for the parties recommend that the alternate dispute resolution mechanism
             designated in paragraph 10(b), be employed at the following point in the case (e.g.,
             within the next sixty days; after the deposition of plaintiff is completed (specify
             date); after the close of fact discovery): As this case is in its infancy the parties will
             commence settlement discussion at the appropriate time, either after the Plaintiffs
             deposition or after the close of fact discovery.




                                                  2
      Case 1:24-cv-00387-PAE             Document 55        Filed 03/04/25       Page 3 of 4




       d.        The use of any alternative dispute resolution mechanism does not stay or modify
                 any date in this Order.

11.   The Final Pretrial Order date is thirty (30) days following the close of fact and expert
      discovery (whichever is later). By the Final Pretrial Order date, the parties shall submit a
      Joint Pretrial Order prepared in accordance with the undersigned's Individual Rules and
      Practices and Fed. R. Civ. P. 26(a)(3). Any motions in limine shall be filed after the close
      of discovery on or before the Final Pretrial Order date. If this action is to be tried before a
      jury, proposed voir dire, jury instructions and verdict form shall also be filed on or before
      the Final Pretrial Order date. Counsel are required to meet and confer on a joint submission
      of proposed jury instructions and verdict form, noting any points of disagreement in the
      joint submission. Jury instructions may not be submitted after the Final Pretrial Order date,
      unless they meet the standard of Fed. R. Civ. P. 5l(a)(2)(A). If this action is to be tried to
      the Court, proposed findings of fact and conclusions of law should be submitted on or
      before the Final Pretrial Order date.

12.    Counsel for the parties have conferred and their present best estimate of the length of trial
       is 5-7 days.




TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

13.    [Other]




14.    The next Case Management Conference is scheduled for October 1, 2025 at 3 p.m.



                                                 3
      Case 1:24-cv-00387-PAE            Document 55        Filed 03/04/25       Page 4 of 4




        Unless otherwise indicated, the Case Management Conference will be held
telephonically. The parties should call into the Court's dedicated conference line at (855)
244-8681, and enter Access Code 2318-315-0661, followed by the pound (#) key. Counsel
are directed to review the Court's Emergency Individual Rules and Practices in Light of
COVID-19, found at https://nysd.uscourts.gov/hon-paul-engelmayer, for the Court's procedures for
telephonic conferences and for instructions for communicating with chambers.
        All conferences with the Court are scheduled for a specific time; there is no other matter
scheduled for that time, and counsel are directed to appear promptly. All pretrial conferences
must be attended by the attorney who will serve as principal trial counsel.
        Please email to EngelmayerNYSDChambers@nysd.nscourts.gov, no later than
twenty-four hours before the conference, the names of any counsel who wish to enter an
appearance at the conference, and the number from which each counsel will be calling.




        This ORDER may not be modified or the dates herein extended, except by further Order
of this Court for good cause shown. Any application to modify or extend the dates herein (except
as noted in paragraph 6) shall be made in a written application in accordance with paragraph 1.E
of the Court's Individual Rules and Practices and shall be made no less than two
(2) business days prior to the expiration of the date sought to be extended.




                                                            Paul A. Engelmayer
                                                            United States District Judge

Dated:




                                                4
